  Case 1:18-cv-01568-CFC Document 3 Filed 10/23/18 Page 1 of 1 PageID #: 18



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 ANTHONY FRANCHI, Individually and On               )
 Behalf of All Others Similarly Situated,           )
                                                    )
                         Plaintiff,                 ) Case No. 1:18-cv-01568-CFC
                                                    )
           v.                                       ) CLASS ACTION
                                                    )
 K2M GROUP HOLDINGS, INC., ERIC                     ) JURY TRIAL DEMANDED
 MAJOR, JOHN P. KOSTUIK, DANIEL                     )
 PELAK, PAUL QUEALLY, RAYMOND                       )
 RANELLI, SEAN TRAYNOR, BRETT                       )
 BRODNAX, and CARLOS A. FERRER,                     )
                                                    )
                         Defendants.                )
                                                    )
                                                    )

                    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

          PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Anthony

Franchi (“Plaintiff”) hereby voluntarily dismisses the above-captioned action (the “Action”) with

prejudice as to Plaintiff only and without prejudice as to all others similarly situated. Defendants

have filed neither an answer nor a motion for summary judgment in the Action, and no class has

been certified. Plaintiff’s dismissal of the Action is therefore effective upon the filing of this

notice.

 Dated: October 23, 2018                              RIGRODSKY & LONG, P.A.

                                                By: /s/ Brian D. Long
                                                    Brian D. Long (#4347)
 OF COUNSEL:                                        Gina M. Serra (#5387)
                                                    300 Delaware Avenue, Suite 1220
 RM LAW, P.C.                                       Wilmington, DE 19801
 Richard A. Maniskas                                Telephone: (302) 295-5310
 1055 Westlakes Drive, Suite 300                    Facsimile: (302) 654-7530
 Berwyn, PA 19312                                   Email: bdl@rl-legal.com
 Telephone: (484) 324-6800                          Email: gms@rl-legal.com
 Facsimile: (484) 631-1305
 Email: rm@maniskas.com                               Attorneys for Plaintiff
